4:04-cr-03158-RGK-DLP       Doc # 79   Filed: 09/22/05   Page 1 of 1 - Page ID # 255




                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:04CR3158
                                         )
                   Plaintiff,            )
                                         )
      vs.                                )
                                         )          ORDER
JACQUELYN SUE SHIVELEY,                  )
                                         )
                   Defendant.            )

      IT IS ORDERED that:

      (1)   The defendant’s motion to continue sentencing (filing 78) is granted;

       (2) Defendant Shiveley’s sentencing is continued to November 10, 2005, at
12:30 p.m., before the undersigned United States District Judge, in Courtroom No. 1,
Robert V. Denney Federal Building and United States Courthouse, Lincoln, Nebraska.
Since this is a criminal case, the defendant shall be present unless excused by the
court.

      September 22, 2005.                    BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
